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                                            Attorneys for Plaintiffs
                                        8
                                        9                              UNITED STATES DISTRICT COURT
                                       10                                   DISTRICT OF ARIZONA
                                       11   Swisher Hygiene Franchise Corp.; Swisher          No. CV15-01331-PHX-DMF
                                            Hygiene Inc.; Swisher International, Inc.,
                                       12                                                     CORPORATE DISCLOSURE
201 E. Washington Street, Suite 1450




                                                                  Plaintiffs,                 STATEMENT
   Phoenix, Arizona 85004-2330




                                       13
    FISHER & PHILLIPS LLP




                                       14          v.
          (602) 281-3400




                                       15   Troy Clawson and Teri Clawson, husband
                                            and wife; et al.,
                                       16
                                       17                         Defendants.

                                       18
                                       19          This Corporate Disclosure Statement is filed on behalf of Swisher Hygiene Inc. in

                                       20   compliance with the provisions of: (check one)

                                       21                Rule 7.1, Federal Rules of Civil Procedure, a nongovernmental corporate
                                       22                party to an action in a district court must file a statement that identifies any
                                       23                parent corporation and any publicly held corporation that owns 10% or more
                                       24                of its stock or states that there is no such corporation.
                                       25                Rule 12.4(a)(1), Federal Rule of Criminal Procedure, any nongovernmental
                                       26                corporate party to a proceeding in a district court must file a statement that
                                       27                identifies any parent corporation and any publicly held corporation that
                                       28                owns 10% or more of its stock or states that there is no such corporation.



                                            FPDOCS 30853691.1
                                             Case 2:15-cv-01331-DJH Document 18 Filed 07/29/15 Page 2 of 3



                                        1             Rule 12.4(a)(2), Federal Rule of Criminal Procedure, if an organizational
                                        2             victim of alleged criminal activity is a corporation the government must file
                                        3             a statement identifying the victim and the statement must also disclose the
                                        4             information required by Rule 12.4(a)(1).
                                        5         The filing party hereby declares as follows:
                                        6             No such corporation.
                                        7             Party is a parent, subsidiary or other affiliate of a publicly owned
                                        8             corporation as listed below. (Attach additional pages if needed.)
                                        9             _______________________________________
                                       10             Relationship_____________________
                                       11             Publicly held corporation, not a party to the case, with a financial interest in
                                       12             the outcome. List identity of corporation and the nature of financial interest.
201 E. Washington Street, Suite 1450
   Phoenix, Arizona 85004-2330
    FISHER & PHILLIPS LLP




                                       13             (Attach additional pages if needed.)
          (602) 281-3400




                                       14             _______________________________________
                                       15             Relationship_____________________
                                       16             Other (please explain)
                                       17         A supplemental disclosure statement will be filed upon any change in the
                                       18   information provided herein.
                                       19         DATED this 29th day of July 2015.
                                       20                                         FISHER & PHILLIPS LLP
                                       21                                         By: s/ Pavneet Singh Uppal
                                       22                                             Pavneet Singh Uppal
                                                                                      Alanna R. Brook
                                       23                                             FISHER & PHILLIPS LLP
                                       24                                             201 E. Washington Street, Suite 1450
                                                                                      Phoenix, Arizona 85004-2330
                                       25                                             Attorneys for Plaintiffs
                                       26
                                       27
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                                             Case 2:15-cv-01331-DJH Document 18 Filed 07/29/15 Page 3 of 3



                                        1                                 CERTIFICATE OF SERVICE
                                        2         I hereby certify that on the 29th day of July 2015 I electronically transmitted the
                                        3   attached document to the Clerk’s Office using the CM/ECF System for filing and
                                        4   transmittal of a Notice of Electronic Filing to the following CM/ECF registrant(s):
                                        5
                                        6   Craig J. O’Loughlin
                                            QUARLES & BRADY LLP
                                        7   Renaissance One
                                        8   Two North Central Avenue
                                            Phoenix, AZ 85004-2391
                                        9   Attorneys for Defendant Accurate
                                            Chemical Acquisition, Inc.
                                       10
                                       11   And a Copy mailed this 29th day of July 2015 on the following:

                                       12   David Barton
201 E. Washington Street, Suite 1450




                                            BurnsBarton
   Phoenix, Arizona 85004-2330
    FISHER & PHILLIPS LLP




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                                            Attorneys for Troy and Teri Clawson
                                       15
                                       16
                                             s/ Eileen Kane
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